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Attorneys for Plaintiff
CENT
AND ENVIRONMENTAL JUSTICE

FOR COMMUNITY ACTION

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA — EASTERN DIVISION

CENTER FOR COMMUNITY
ACTION AND ENVIRONMENTAL
JUSTICE, a non-profit corporation,

Plaintiff,
vs.

RUUHWA DANN & ASSOCIATES,
INC. dba CAL MICRO RECYCLING,
a corporation,

Defendant.

VOLUNTARY DISMISSAL

Case No. CV 5:14-0230 VAP (SPx)

NOTICE OF VOLUNTARY
DISMISSAL WITHOUT PREJUDICE

(Federal Rules Civil Procedure Rule
41(a))

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Sn Dn ua fF HH YF SCF BO BN BAB vn fF HR NHK KF CS

NOTICE IS HEREBY GIVEN pursuant to Federal Rules Civil Procedure Rule
41(a) that plaintiff CENTER FOR COMMUNITY ACTION AND
ENVIRONMENTAL JUSTICE hereby voluntarily dismisses the above-captioned

action without prejudice.

Dated: June fo 2014 Respectfully submitted,
LAW OF WN be OE GIDEQN KRACOV

Gideon Kracov ns
Attorneys for Plaintiff

CENTER FOR COMMUNITY ACTION AND
ENVIRONMENTAL JUSTICE

VOLUNTARY DISMISSAL

Cage 5:14-cv-00230-VAP-SP Document6 Filed 06/03/14 Page 3of3 Page ID #:80

PROOF OF SERVICE

I, Gideon Kracov, being duly sworn, deposes and says:

I am a citizen of the United States and work in Los Angeles County, California. I
am over the age of eighteen years and am not a party to the within entitled action. My
business address is: 801 S. Grand Ave., 11" Fl., LA, CA 90017. On June3 , 20141
served the attached: NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

on:

Rodney W. Bell

Chang & Coté

19138 East Walnut Drive N, Suite 100

Rowland Heights, California 91748

rbell@changcote.com COUNSEL FOR RUUHWA DANN &
ASSOCIATES, INC. dba CAL MICRO
RECYCLING

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Citizen Suit Coordinator
Environment and Natural Resources Division

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So

11 || Law and Policy Section
P.O. Box 7415
12 || Ben Franklin Station
Washington, DC 20044-7415 COUNSEL FOR UNITED STATES
13 || Judith. Harvey@usdoj.gov
14
XXX by placing a true copy thereof enclosed in a sealed envelope, with postage
15 thereon fully prepaid, in the United States Post Office mail box at 801 S.
Grand Ave., Los Angeles, California, addressed as set forth above. | am
16 readily familiar with my firm's practice of collection and processing
correspondence for mailing. It is deposited with the U.S. Postal Service on
17 the same day in the ordinary course of business. | am aware that on
motion of party served, service is presumed invalid if postal cancellation
18 date of postage meter date is more than 1 day after date of deposit for
mailing in affidavit.
19
by personally delivering a true copy thereof to the person.
20
by sending a true and correct copy thereof via facsimile
21
XXX by transmitting via electronic mail the document(s) listed above to the e-mail
22 addresses set forth herein on this date.
23 | declare under penalty of perjury, according to the laws of the State of California,
that the foregoing is true and gorrect.
24 6 3
Executed this , 2014 at Los Angeles, Vy,
25 ,
6 / lla
Gideon Kracov’
27

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CO

